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                      United States Court of Appeals
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
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No. 24-1193                                                     September Term, 2023
                                                                              EPA-89FR39124
                                                       Filed On: August 22, 2024 [2071335]
Chamber of Commerce of the United States
of America, et al.,

                  Petitioners

        v.

Environmental Protection Agency and
Michael S. Regan, in his official capacity as
Administrator, United States Environmental
Protection Agency,

                  Respondents

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Clean Cape Fear, et al.,
                   Intervenors
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Consolidated with 24-1261, 24-1266,
24-1271, 24-1272

                                             ORDER

        Upon consideration of petitioners’ unopposed motion for extension of time, it is

      ORDERED that the motion be granted. Proposed briefing schedules and formats
are now due September 9, 2024.

                                                              FOR THE COURT:
                                                              Mark J. Langer, Clerk

                                                      BY:     /s/
                                                              Louis Karl Fisher
                                                              Deputy Clerk
